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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


KEVIN JEROME TURPIN,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 2:05-cv-00362
                                                     (Criminal No. 2:01-cr-00261-03)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER


       Pending before the court is the petitioner’s motion under 28 U.S.C. § 2255 to vacate, set

aside or correct sentence. This action was referred to the Honorable Mary E. Stanley, United States

Magistrate Judge, for submission to this court of proposed findings of fact and recommendation for

disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of

fact and recommended that the court deny the petitioner’s § 2555 motion.

       Neither party has filed objections to the Magistrate Judge’s findings and recommendation.

Accordingly, the court ADOPTS and incorporates herein the findings and recommendation of the

Magistrate Judge, and DENIES the petitioner’s § 2255 motion.
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       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.



                                            ENTER:         March 29, 2006
